
Turley, J.
delivered the opinion of the court.
This, a prosecution on the part of the State against J. J. 'Bilbro for vending spirituous liquors by the quart, to be drank on the premises; and it is now objected, that the bill of indictment is bad, in charging, that the liquor was sold to be drank on the premises. The statute of 1779, ch. 10, which creates the offence for which the defendant stands charged, uses the words “if intended to be drank,” and the argument is, that the word intend should have been inserted before the words “to be drank,” so as to make the indictment read “with the intent to be drank.” This would certainly have been pursuing the literal wording of the statute. But this, we think, is *536not necessary in the case of a misdemeanor, a substantial description of the offence is all that is required. This, we think, has been given in this case; the words “to be drank” certainly mean “with the intent to be drank,” for it is difficult, if not impossible, to see how the defendant could have sold spirituous liquors “to be drank” upon his premises, unless he at the time intended they should be drank.
Affirm the judgment.
